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 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 NATHAN WILLIAMS,                                             Case No. 2:18-cv-01363-APG-NJK
                                               Plaintiff              SCREENING ORDER
 4
            v.
 5
     BRIAN E. WILLIAMS SR. et al.,
 6
                                           Defendants
 7

 8         Plaintiff Nathan Williams, who is in the custody of the Nevada Department of

 9 Corrections (NDOC), has submitted a civil rights complaint under 42 U.S.C. § 1983 and has

10 filed an application to proceed in forma pauperis. ECF Nos. 1-1, 3. The matter of the filing fee

11 shall be temporarily deferred. I now screen Williams’s civil rights complaint as required by 28

12 U.S.C. § 1915A.

13 I.      SCREENING STANDARD

14         Federal courts must conduct a preliminary screening in any case in which a prisoner

15 seeks redress from a governmental entity or officer or employee of a governmental entity. See 28

16 U.S.C. § 1915A(a). In its review, the court must identify any cognizable claims and dismiss any

17 claims that are frivolous, malicious, fail to state a claim upon which relief may be granted or

18 seek monetary relief from a defendant who is immune from such relief. See 28 U.S.C.

19 § 1915A(b)(1),(2). Pro se pleadings, however, must be liberally construed. Balistreri v. Pacifica

20 Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1990). To state a claim under 42 U.S.C. § 1983, a

21 plaintiff must allege two essential elements: (1) the violation of a right secured by the

22 Constitution or laws of the United States, and (2) that the alleged violation was committed by a

23 person acting under color of state law. See West v. Atkins, 487 U.S. 42, 48 (1988).
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 1          In addition to the screening requirements under § 1915A, the Prison Litigation Reform

 2 Act (PLRA) requires a federal court to dismiss a prisoner’s claim if “the allegation of poverty is

 3 untrue,” or if the action “is frivolous or malicious, fails to state a claim on which relief may be

 4 granted, or seeks monetary relief against a defendant who is immune from such relief.” 28

 5 U.S.C. § 1915(e)(2). Dismissal of a complaint for failure to state a claim upon which relief can

 6 be granted is provided for in Federal Rule of Civil Procedure 12(b)(6), and the court applies the

 7 same standard under § 1915 when reviewing the adequacy of a complaint or an amended

 8 complaint. When a court dismisses a complaint under § 1915(e), the plaintiff should be given

 9 leave to amend the complaint with directions as to curing its deficiencies, unless it is clear from

10 the face of the complaint that the deficiencies could not be cured by amendment. See Cato v.

11 United States, 70 F.3d 1103, 1106 (9th Cir. 1995).

12          Review under Rule 12(b)(6) is essentially a ruling on a question of law. See Chappel v.

13 Lab. Corp. of America, 232 F.3d 719, 723 (9th Cir. 2000). Dismissal for failure to state a claim

14 is proper only if it is clear that the plaintiff cannot prove any set of facts in support of the claim

15 that would entitle him or her to relief. See Morley v. Walker, 175 F.3d 756, 759 (9th Cir. 1999).

16 In making this determination, the court takes as true all allegations of material fact stated in the

17 complaint, and the court construes them in the light most favorable to the plaintiff. See Warshaw

18 v. Xoma Corp., 74 F.3d 955, 957 (9th Cir. 1996). Allegations of a pro se complainant are held to

19 less stringent standards than formal pleadings drafted by lawyers. See Hughes v. Rowe, 449 U.S.

20 5, 9 (1980). While the standard under Rule 12(b)(6) does not require detailed factual allegations,

21 a plaintiff must provide more than mere labels and conclusions. Bell Atlantic Corp. v. Twombly,

22 550 U.S. 544, 555 (2007). A formulaic recitation of the elements of a cause of action is

23 insufficient. Id.



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 1         Additionally, a reviewing court should “begin by identifying pleadings [allegations] that,

 2 because they are no more than mere conclusions, are not entitled to the assumption of truth.”

 3 Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). “While legal conclusions can provide the

 4 framework of a complaint, they must be supported with factual allegations.” Id. “When there are

 5 well-pleaded factual allegations, a court should assume their veracity and then determine

 6 whether they plausibly give rise to an entitlement to relief.” Id. “Determining whether a

 7 complaint states a plausible claim for relief . . . [is] a context-specific task that requires the

 8 reviewing court to draw on its judicial experience and common sense.” Id.

 9         Finally, all or part of a complaint filed by a prisoner may therefore be dismissed sua

10 sponte if the prisoner’s claims lack an arguable basis either in law or in fact. This includes

11 claims based on legal conclusions that are untenable (e.g., claims against defendants who are

12 immune from suit or claims of infringement of a legal interest which clearly does not exist), as

13 well as claims based on fanciful factual allegations (e.g., fantastic or delusional scenarios). See

14 Neitzke v. Williams, 490 U.S. 319, 327-28 (1989); see also McKeever v. Block, 932 F.2d 795,

15 798 (9th Cir. 1991).

16 II.     SCREENING OF COMPLAINT

17         In his complaint, Williams sues multiple defendants for events that took place while

18 Williams was incarcerated at High Desert State Prison (HDSP). ECF No. 1-1 at 1. Williams sues

19 defendants Warden Brian E. Williams Sr., Sergeant Glenn Fowler, and NDOC.1 Id. at 2.

20 Williams alleges three counts and seeks injunctive and monetary relief. Id. at 7.

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22 1
     I dismiss with prejudice all claims against NDOC because amendment would be futile. NDOC
   is an arm of the State of Nevada and is not a “person” for purposes of 42 U.S.C. § 1983. See Doe
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   v. Lawrence Livermore Nat. Lab., 131 F.3d 836, 839 (9th Cir. 1997); Black v. Nevada Dep’t of
   Corr., 2:09-cv-2343-PMP-LRL, 2010 WL 2545760, *2 (D. Nev. June 21, 2010).

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 1         The complaint alleges the following: during the summer of 2016, Williams was housed in

 2 a cell block unit without functioning air conditioning or ventilation. Id. at 3. The National

 3 Weather Association issued multiple excessive heat warnings during the summer of 2016, and on

 4 multiple occasions during that summer, the temperature in Williams’s unit exceeded 120

 5 degrees. Id. at 3-4. Williams experienced heat exhaustion as a result of the conditions. Id. at 4.

 6 NDOC staff worked on the ventilation unit while Williams was in his cell. Id. The work on the

 7 ventilation unit created fumes and metal flakes that went into Williams’s unventilated cell. Id.

 8 Williams Sr. and Fowler were aware of the conditions in the unit. Id. Williams complained

 9 about the heat and the breathing conditions. Id. On one occasion Williams Sr. yelled to the

10 inmates in the unit that if they didn’t like the heat they should not have come to that unit. Id.

11 This gave Williams the impression that the conditions in the unit were some form of additional

12 punishment. Id.

13         During the summer of 2016, the plumbing in the unit went out repeatedly. Id. at 5. When

14 the plumbing went out, raw sewage, including human waste, would gush under Williams’s cell

15 door. Id. NDOC staff refused to clean up the raw sewage and did not provide Williams

16 biohazard equipment to clean the sewage himself. Id. As a result of the raw sewage, Williams

17 has been diagnosed with hepatitis B. Id. Williams Sr. and Fowler were aware of the conditions

18 and could have housed Williams in a clean unit but did not do so. Id.

19         During the summer of 2016, Williams’s unit was overrun with bugs. Id. at 6. Williams

20 was bitten by bugs over 100 times. Id. NDOC staff promised Williams that they would provide

21 him medical attention for the bug bites, but he never received any medical treatment. Id.

22 Williams now has scars from the bug bites. Id. Williams personally complained to Williams Sr.

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 1 and Fowler about the bugs and received a response that they would put in a work order to spray

 2 for bugs. Id.

 3         Williams alleges that the conditions of his confinement, namely the lack of air

 4 conditioning and ventilation (Count I), the exposure to human waste (Count II), and the bug

 5 infestation (Count III) violated the Eighth Amendment. The “treatment a prisoner receives in

 6 prison and the conditions under which he is confined are subject to scrutiny under the Eighth

 7 Amendment.” Helling v. McKinney, 509 U.S. 25, 31 (1993). Conditions of confinement may,

 8 consistent with the Constitution, be restrictive and harsh. Rhodes v. Chapman, 452 U.S. 337, 347

 9 (1981). However, “[p]rison officials have a duty to ensure that prisoners are provided adequate

10 shelter, food, clothing, sanitation, medical care, and personal safety.” Johnson v. Lewis, 217 F.3d

11 726, 731 (9th Cir. 2000). When determining whether the conditions of confinement meet the

12 objective prong of the Eighth Amendment analysis, the court must analyze each condition

13 separately to determine whether that specific condition violates the Eighth Amendment. See

14 Wright v. Rushen, 642 F.2d 1129, 1133 (9th Cir. 1981). As to the subjective prong of the Eighth

15 Amendment analysis, prisoners must establish prison officials’ “deliberate indifference” to the

16 unconstitutional conditions of confinement to establish an Eighth Amendment violation. Farmer

17 v. Brennan, 511 U.S. 825, 834 (1994). When considering the conditions of confinement, the

18 court should consider the amount of time to which the prisoner was subjected to the condition.

19 Hearns v. Terhune, 413 F.3d 1036, 1042 (9th Cir. 2005).

20         A defendant is liable under 42 U.S.C. § 1983 “only upon a showing of personal

21 participation by the defendant.” Taylor v. List, 880 F.2d 1040, 1045 (9th Cir. 1989). “A

22 supervisor is only liable for constitutional violations of his subordinates if the supervisor

23 participated in or directed the violations, or knew of the violations and failed to act to prevent



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 1 them. There is no respondeat superior liability under [§]1983.” Id.; see also Ashcroft v. Iqbal,

 2 556 U.S. 662, 676 (2009) (holding that “[b]ecause vicarious liability is inapplicable to Bivens

 3 and § 1983 suits, a plaintiff must plead that each Government-official defendant, through the

 4 official’s own individual actions, has violated the Constitution”).

 5         A.      Count I

 6         Williams states a colorable Eighth Amendment claim based on the excessive heat and

 7 lack of ventilation in his cell during the summer of 2016. I liberally construe Williams’s

 8 complaint as alleging that for several months he was housed in a cell without functioning air

 9 conditioning or ventilation. The National Weather Association issued multiple excessive heat

10 warnings, and the temperature in Williams’s unit exceeded 120 degrees on multiple occasions.

11 Work on the ventilation unit created fumes that went into Williams’s unventilated cell, and

12 Williams suffered heat exhaustion as a result of the conditions. Williams Sr. and Fowler were

13 aware of the conditions in the unit and had the ability to house Williams in a different unit but

14 did not do so. This is sufficient to state a colorable claim on screening. Cf. Vensor v. Schell, 657

15 F. App’x 695, 697 (9th Cir. 2016) (concluding that extreme heat in a transport van, combined

16 with medical instructions for a prisoner not to eat or drink before transport, raised a dispute of

17 material fact as to whether the conditions in the transport van violated the Eighth Amendment).

18 This claim will proceed against Williams Sr. and Fowler.

19         B.      Count II

20         Williams states a colorable Eighth Amendment claim based on the allegation of raw

21 sewage gushing into his cell. “[S]ubjection of a prisoner to lack of sanitation that is severe or

22 prolonged can constitute an infliction of pain within the meaning of the Eighth Amendment.”

23 Anderson v. Cnty. of Kern, 45 F.3d 1310, 1314, opinion amended on denial of reh’g, 75 F.3d 448



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 1 (9th Cir. 1995). I liberally construe Williams’s complaint as alleging that on multiple occasions

 2 the plumbing in his cell block unit went out and raw sewage, including human waste, gushed into

 3 his cell. NDOC staff refused to clean the sewage and did not provide Williams with biohazard

 4 equipment to safely clean the sewage himself. As a result of his exposure to raw sewage,

 5 Williams has been diagnosed with hepatitis B. Williams Sr. and Fowler were aware of the

 6 conditions and could have housed Williams in a clean unit but did not do so. This is sufficient to

 7 state a colorable claim on screening. This claim will proceed against Williams Sr. and Fowler.

 8           C.     Count III

 9           Williams states a colorable Eighth Amendment claim based on the bug infestation in his

10 unit. I liberally construe Williams’s complaint as alleging that that he was bitten by bugs over

11 100 times during the summer of 2016 and that the bites were severe enough that they led to

12 permanent scarring. Williams personally informed Williams Sr. and Fowler about the bug issue.

13 Williams Sr. and Fowler stated that they would put in a work order for bug spraying, but they did

14 not put Williams in a safe cell, despite their ability to do so. This is sufficient to state a colorable

15 claim on screening. This claim will proceed against Williams Sr. and Fowler.

16           To the extent that Williams intends to raise a separate claim based the lack of treatment

17 for his bug bites, the Court dismisses this claim without prejudice. Williams’s complaint does

18 not allege that Williams Sr. or Fowler were personally involved in the lack of medical treatment

19 or aware of the lack of medical treatment. As such, Williams has not stated a claim for relief

20 against Williams Sr. or Fowler on the basis of a lack of medical treatment. See Taylor, 880 F.2d

21 at 1045.

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 1 III.    CONCLUSION

 2         I order that a decision on the application to proceed in forma pauperis (ECF No. 3) is

 3 deferred.

 4         I further order the Clerk of the Court to file the complaint (ECF No. 1-1) and send

 5 Williams a courtesy copy of the complaint.

 6         I further order that Counts I, II, and III, alleging Eighth Amendment violations, will

 7 proceed against defendants Williams Sr. and Fowler.

 8         I further order that to the extent that Williams intends to raise a claim based on a lack of

 9 treatment for his bug bites, that claim is dismissed without prejudice.

10         I further order that defendant NDOC is dismissed with prejudice from the entirety of the

11 case as amendment would be futile.

12         I further order that given the nature of the claims that I have permitted to proceed, this

13 action is STAYED for 90 days to allow Williams and the defendants an opportunity to settle

14 their dispute before the $350.00 filing fee is paid, an answer is filed, or the discovery process

15 begins. During this 90-day stay period and until the court lifts the stay, no other pleadings or

16 papers shall be filed in this case, and the parties shall not engage in any discovery, nor are the

17 parties required to respond to any paper filed in violation of the stay unless specifically ordered

18 to do so. I will refer this case to the court’s Inmate Early Mediation Program, and the court will

19 enter a subsequent order. Regardless, on or before 90 days from the date this order is entered,

20 the Office of the Attorney General shall file the report form attached to this order regarding the

21 results of the 90-day stay, even if a stipulation for dismissal is entered prior to the end of the 90-

22 day stay. If the parties proceed with this action, an order will be issued setting a date for the

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 1 defendants to file an answer or other response. Following the filing of an answer, a scheduling

 2 order will issue setting discovery and dispositive motion deadlines.

 3           “Settlement” may or may not include payment of money damages. It also may or may

 4 not include an agreement to resolve Williams’s issues differently. A compromise agreement is

 5 one in which neither party is completely satisfied with the result, but both have given something

 6 up and both have obtained something in return.

 7           I further order that if the case does not settle, Williams will be required to pay the full

 8 $350.00 filing fee. This fee cannot be waived. If Williams is allowed to proceed in forma

 9 pauperis, the fee will be paid in installments from his prison trust account. 28 U.S.C. § 1915(b).

10 If Williams is not allowed to proceed in forma pauperis, the $350.00 will be due immediately.

11           I further order that if any party seeks to have this case excluded from the inmate

12 mediation program, that party shall file a “motion to exclude case from mediation” on or before

13 21 days from the date of this order. The responding party shall have seven days to file a

14 response. No reply shall be filed.

15           I further order that the Clerk of the Court shall electronically SERVE a copy of this order

16 and a copy of Williams’s complaint (ECF No. 1-1) on the Office of the Attorney General of the

17 State of Nevada, by adding the Attorney General of the State of Nevada to the docket sheet. This

18 does not indicate acceptance of service.

19           I further order that the Attorney General’s Office shall advise the Court within 21 days of

20 the date of the entry of this order whether it will enter a limited notice of appearance on behalf of

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 1 the defendants for the purpose of settlement. No defenses or objections, including lack of

 2 service, shall be waived as a result of the filing of the limited notice of appearance.

 3         Dated: September 10, 2019.

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 5                                                        ANDREW P. GORDON
                                                          UNITED STATES DISTRICT JUDGE
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